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                                   STATEMENT OF FACTS

        Your affiant, Riley M. Palmertree, is a Special Agent of the Federal Bureau of Investigation
(“FBI”), and has been so employed since May 2017. I am currently assigned to the FBI Washington
Field Office in Washington, D.C. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent with the FBI, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

                                           Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                Assault of Officer N.R. at the U.S. Capitol

        A number of law enforcement officers were assaulted while attempting to prevent rioters
from entering the U.S. Capitol. These assaults occurred both inside the Capitol building, as well
as on the steps outside of the Capitol and on the grounds of the Capitol.

       The FBI has obtained bodyworn camera (“BWC”) footage from the Metropolitan Police
Department (“MPD”) that depicts an assault of MPD Officer N.R. (“N.R.”) that occurred on the
Capitol grounds, near the bike rack barricade line at the base of the West Front of the Capitol
building. N.R. had been dispatched to that location in order to assist U.S. Capitol Police officers
with protecting the Capitol grounds and building.

        Your affiant reviewed the BWC footage depicting the assault. As seen in the BWC
footage, at approximately 2:28 p.m. EST, an individual wearing a red, black, and white snow
jacket, blue jeans, and brown work boots — later identified as United States Marine Corps
veteran and retired New York City Police Department Officer Thomas WEBSTER
(“WEBSTER”) — is seen approaching N.R., who is barricaded behind a metal gate. WEBSTER
enters the screen carrying a large metal flagpole. As he enters the screen, WEBSTER is waving
his finger at N.R. and yelling: “You fucking piece of shit. You fucking Commie motherfuckers,
man . . . Come on, take your shit off. Take your shit off.” WEBSTER is carrying a large metal
flagpole, with a red U.S. Marine Corps flag attached to it.




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   After berating N.R., WEBSTER can be observed aggressively shoving the metal gate into
N.R.’s body and then arming himself with the metal flagpole.




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     WEBSTER then raises the metal flagpole above his head and forcefully swings
downward, striking the metal barricade directly in front of N.R.




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    WEBSTER then attempts to attack N.R. by lunging toward him with the metal flagpole.
WEBSTER strikes at N.R. with the flagpole numerous times.




         N.R. is eventually able to wrest the weapon away from WEBSTER’s clutch before N.R.
falls to the ground. N.R. quickly stands back up, and begins retreating further behind the metal
barricade.




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      WEBSTER proceeds to break through the metal barricade and begins charging toward
N.R. with clenched fists. WEBSTER ultimately lunges at N.R. and tackles him to the ground.
WEBSTER’s assault of N.R. while on the ground lasts approximately ten seconds.




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        Your affiant has reviewed open source media from Twitter that depicts WEBSTER’s
assault of N.R. from a different angle. In these open source images, WEBSTER can be seen
pinning N.R. to the ground and straddling him while he tries to forcibly remove N.R.’s face
shield and gas mask.




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   Your affiant has interviewed N.R. as part of this investigation. During the interview, N.R.
advised that the individual who had assaulted him attempted to rip off N.R.’s helmet, and that he
was being choked by his chin strap and was unable to breathe during this portion of the assault.

        Finally, your affiant has reviewed an open source video posted to YouTube that depicts
WEBSTER on the staircase leading to the Upper West Terrace of the Capitol building.
Beginning at time stamp 00:31 of the video, WEBSTER says into the camera, “Send more
patriots. We need some help.” WEBSTER also appears to be wearing a dark blue or black body
armor vest over his torso.




                    Source URL: https://www.youtube.com/watch?v=RlAxDAm5KWc

                                     Identification of WEBSTER

         Based on the BWC footage and open source video described above, the FBI created a
profile for WEBSTER in its “Be On The Lookout” (BOLO) Assault on Federal Officer (AFO)
list for the ongoing U.S. Capitol Riot investigations.




                            Source URL: https://www.fbi.gov/wanted/capitol-violence


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       Your affiant has also compared the BOLO photos of WEBSTER to a June 2020 passport
application photo submitted by WEBSTER and can confirm that the individual in the passport
photo resembles the individual in the BOLO photos. Additionally, your affiant has reviewed
photos from a public Facebook page belonging to one of WEBSTER’s family members and can
confirm that the individual in these Facebook photos resembles the individual who assaulted
N.R. outside the U.S. Capitol on January 6, 2021. In the photo on the left, WEBSTER appears to
be wearing a red Marine Corps shirt.




                         Source URL: https://www.facebook.com/yvonne.webster.71

        On January 5, 2021, at approximately 4:32 a.m. EST, a license plate reader on the
Southbound Baltimore-Washington Parkway (Route 295), at Kenilworth Avenue Northeast,
Washington, D.C., took a photo of a New York license plate number HVU2139, which is
registered to WEBSTER.

        Finally, on February 19, 2021, your affiant spoke to an administrator at the high school
attended by WEBSTER’s children. Your affiant then e-mailed the administrator BOLO 145
images A and C. The administrator positively identified the individual as WEBSTER. The
administrator confirmed that he/she had seen WEBSTER many times because WEBSTER
regularly drops his child off at school.

                                           Probable Cause

    Based on the foregoing, your affiant submits there is probable cause to believe that
WEBSTER violated the following:

       1. 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to forcibly assault, resist,
          oppose, impede, intimidate, or interfere with any person designated in 18 U.S.C. §
          1114 as an officer or employee of the United States while engaged in or on account of
          the performance of official duties. Persons designated within section 1114 include
          any person assisting an officer or employee of the United States in the performance of
          their official duties. Subdivision (b) includes an enhancement for violating this
          provision while using a deadly or dangerous weapon.



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 2. 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any
    act to obstruct, impede, or interfere with any fireman or law enforcement officer
    lawfully engaged in the lawful performance of his official duties incident to and
    during the commission of a civil disorder which in any way or degree obstructs,
    delays, or adversely affects commerce or the movement of any article or commodity
    in commerce or the conduct or performance of any federally protected function. For
    purposes of Section 231 of Title 18, a federally protected function means any
    function, operation, or action carried out, under the laws of the United States, by any
    department, agency, or instrumentality of the United States or by an officer or
    employee thereof. This includes the Joint Session of Congress where the Senate and
    House count Electoral College votes.

 3. 18 U.S.C. § 1752(a)(1), (2), (4) and (b)(1)(A), which makes it a crime, with respect
    to subdivision (a)(1), to knowingly enter or remain in any restricted building or
    grounds without lawful authority to do so; with respect to subdivision (a)(2) to
    knowingly, and with intent to impede or disrupt the orderly conduct of Government
    business or official functions, engage in disorderly or disruptive conduct in, or within
    such proximity to, any restricted building or grounds when, or so that, such conduct,
    in fact, impedes or disrupts the orderly conduct of Government business or official
    functions; and with respect to subdivision (a)(4) to knowingly engage in any act of
    physical violence against any person or property in any restricted building or grounds;
    or attempt or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted
    building” includes a posted, cordoned off, or otherwise restricted area of a building or
    grounds where the President or other person protected by the Secret Service,
    including the Vice President, is or will be temporarily visiting; or any building or
    grounds so restricted in conjunction with an event designated as a special event of
    national significance. Subdivision (b)(1)(A) includes an enhancement for violating
    this provision while using a deadly or dangerous weapon.

 4. 40 U.S.C. § 5104(e)(2)(D), (F), which makes it a crime, with respect to subdivision
    (e)(2)(D), to willfully and knowingly utter loud, threatening, or abusive language, or
    engage in disorderly or disruptive conduct, at any place in the Grounds or in any of
    the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct
    of a session of Congress or either House of Congress, or the orderly conduct in that
    building of a hearing before, or any deliberations of, a committee of Congress or
    either House of Congress; and with respect to subdivision (e)(2)(F), to willfully and
    knowingly engage in an act of physical violence in the Grounds or any of the Capitol
    Buildings.




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    As such, your affiant respectfully requests that the court issue an arrest warrant for
WEBSTER. The statements above are true and accurate to the best of my knowledge and belief.

                                                    Respectfully submitted,



                                                    _________________________________
                                                    Riley M. Palmertree
                                                    Special Agent
                                                    Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 19th day of February 2021.
                                                                         Digitally signed by G. Michael Harvey
                                                                         Date: 2021.02.19 21:26:02 -05'00'
                                                    _________________________________
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE




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